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10   UNITED STATES OF AMERICA
11                            UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                     No. CR 22-009-SB
14               Plaintiff,                        GOVERNMENT’S REPLY TO
                                                   DEFENDANT’S SENTENCING
15                      v.                         MEMORANDUM AND OBJECTIONS
                                                   TO THE PRESENTENCE REPORT
16   THOMAS H. PETERS,
                                                   Hearing Date:     May 9, 2023
17               Defendant.                        Hearing Time:     8:00 a.m.
                                                   Location:         Courtroom of the Hon.
18                                                                   Stanley Blumenfeld
19
20         Plaintiff United States of America, by and through its counsel of record, the
21   United States Attorney for the Central District of California and Assistant United States
22   Attorneys Susan S. Har and J. Jamari Buxton, hereby files its reply to defendant Thomas
23   H. Peters’ sentencing memorandum (Dkt. Nos. 41, 45) and objections to the Presentence
24   Report (Dkt. No. 43).
25
26
27
28
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 1         This reply is based upon the attached memorandum of points and authorities, the
 2   government’s sentencing position, the files and records in this case, and such further
 3   evidence and argument as the Court may permit.
 4    Dated: May 2, 2023                       Respectfully submitted,
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 9                                                 /s/
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    OVERVIEW
 3         The government disagrees with defendant’s proposed calculation of the
 4   Guidelines, upon which defendant advocates for a probationary sentence for his
 5   “misconduct.” (Dkt. No. 45 at 1-3, 20.)1 In particular, defendant seeks (1) a downward
 6   departure or variance based on the purportedly “overstated” impact of the 14-level
 7   enhancement for the amount of the extortion; (2) the non-application of the 2-level
 8   enhancement for abuse of a position of trust; (3) a downward departure or variance for
 9   aberrant behavior; (4) a downward variance based on defendant’s extraordinary
10   acceptance of responsibility; and (5) other downward variances based on defendant’s
11   history and characteristics.
12         In addition to being legally incorrect, as detailed below, defendant’s arguments
13   suffer from a common flaw: they ignore defendant’s own criminal conduct and shift
14   blame onto others. Indeed, other than a generalized reference to defendant’s crime of
15   aiding and abetting extortion “to which [he] pled guilty” (Dkt. No. 45 at 2), noticeably
16   absent from defendant’s sentencing position is any specific acknowledgement of the
17   crime defendant committed and, just as important, why he committed it. 2 To be clear:
18   defendant committed the federal crime of extortion by directing Kiesel to pay Person A
19   nearly one million dollars under the (very real) threat of Keisel’s public firing and
20   consequent substantial economic and reputational harm. And the reason defendant
21   committed this crime was, at its core, to save himself from the certain economic and
22
           1
             Docket No. 45 is the unredacted version of defendant’s sentencing position filed
23
     under seal. A redacted version of defendant’s sentencing position was publicly filed at
24   Docket No. 41.
25         2
             The government interprets defendant’s sentencing position as the legal
     arguments and advocacy of his counsel and not as the individual defendant’s
26
     minimization or shirking of his acceptance of responsibility for his criminal conduct.
27   Defendant’s letter to the Court, which the government found to be sincere, reflects the
     fulsome acceptance of responsibility and remorse that the government has observed with
28
     this defendant, as described in the government’s sentencing position.
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 1   reputational loss that defendant would suffer if the City’s collusion, which defendant had
 2   spent years concealing, were to come to light. The Court should reject defendant’s
 3   Guidelines calculation.
 4   II.   THE 14-LEVEL ENHANCEMENT FOR THE VALUE OF EXTORTION
           DOES NOT OVERSTATE THE SERIOUSNESS OF THE OFFENSE
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           In the plea agreement, defendant stipulated that the 14-level enhancement under
 6
     U.S.S.G. § 2B1.1(b)(H) (amount over $550,000) applied. (Dkt. No. 7 ¶ 16.) Defendant
 7
     pled that he “understood that Person A had demanded over a million dollars from
 8
     Kiesel.” (Id., Attachment A [Factual Basis] ¶ 16.) With that understanding, defendant
 9
     “directed Kiesel to resolve the situation—including, if necessary, by satisfying Person
10
     A’s monetary demands and getting the documents back—or else defendant PETERS
11
     would advocate to have Kiesel fired as the City’s Special Counsel.” (Id. ¶ 18.) When
12
     the demand dropped to $900,000, defendant continued to tell Kiesel that he “needed to
13
     take care of the Person A problem . . . even if that required Kiesel to pay her monetary
14
     demand.” (Id. ¶ 19.) Defendant’s threats continued until Kiesel informed defendant he
15
     had paid $800,000, at which point defendant told him “Good job.” (Id. ¶ 28.) Defendant
16
     committed this extortion not because (as he implies in his sentencing position) he
17
     thought Person A had some valuable employment cause of action. On the contrary,
18
     defendant deliberately and repeatedly threatened Kiesel chiefly to protect his own job
19
     and reputation, his future employment prospects, the reputation of the City Attorney’s
20
     Office, and two high-stakes lawsuits for the City, including one that he directly oversaw.
21
     (Id. ¶¶ 11, 17-18, 20.)
22
           Despite these facts, the defense now seeks a downward departure or variance
23
     based on the purportedly overstated impact of the extortion amount. The defense argues
24
     that defendant did not receive the money and “played no role in determining the amount
25
     obtained.” (Dkt. No. 45 at 12.) The problem with this argument is that it focuses only
26
     on Person A and ignores defendant’s crime and defendant’s state of mind. His crime
27
     was to lean on Kiesel to “take care” of the problem or risk being fired from the Special
28
                                                 2
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 1   Counsel position—a threat defendant made understanding full well that Person A’s
 2   extortionate demand was well over $550,000 (the threshold amount for the 14-level
 3   enhancement). 3 Defendant intended for Kiesel to wrongfully pay Person A’s monetary
 4   demand of over $550,000, if that is what it would take to get the documents back. 4
 5   (Factual Basis ¶ 29 (“PETERS induced Kiesel to part with property by wrongful threat
 6   of economic or reputational harm, and he did so with the intent to obtain Kiesel’s
 7   property for Person A and to facilitate Person A’s extortion.”) (emphasis added).)
 8          The § 2B1.1 enhancement is intended to reflect defendant’s culpability, based on
 9   “the greater of actual loss or intended loss.” U.S.S.G. § 2B1.1, Appl. Note 3. “Intended
10   loss” refers to the pecuniary harm that defendant purposely sought to inflict and includes
11   the intended harm even if “that would have been impossible or unlikely to occur.” Id.
12   The reason for using intended loss is that it is a “direct measure of culpable mental state”
13   and reflects the defendant’s culpability. United States v. Hoffman, 901 F.3d 523, 558
14   (5th Cir. 2018) (citations omitted) (explaining that “a focus on intended loss makes sense
15   for moral and utilitarian considerations” (cleaned up)). Consistent with this principle,
16   the 14-level enhancement here appropriately captures the culpability of defendant’s
17   mens rea and, in turn, the commensurate seriousness of his crime when a defendant like
18   this one threatens and intends the loss of over $550,000 to the victim.
19          That is why the defense’s speculation—that a lower enhancement would have
20   applied if Person A ultimately obtained less than $95,000—misses the mark. (See Dkt.
21   No. 45 at 12.) First of all, had defendant threatened Kiesel with termination intending
22   for Kiesel to pay the extortionate demand of over $550,000 to get the documents back,
23   the 14-level enhancement would still apply based on defendant’s greater intended loss to
24
25          3
                Defendant understood Person A’s demand to be extortion. (Factual Basis ¶¶ 20,
26   26.)
27          4
             As noted in its sentencing position, the government does not seek to apply this
     enhancement based on the economic loss that defendant effectively threatened through
28
     the loss of Kiesel’s Special Counsel role. (Dkt. No. 46 at 9.)
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 1   Kiesel—regardless of Person A’s ultimately payout. But in any event, had defendant
 2   hypothetically made the threats he did when the extortionate demand was only ever
 3   $95,000, that would theoretically decrease defendant’s culpability and the seriousness of
 4   his crime, and a lower enhancement would be appropriate. But that is not what
 5   happened here. Rather, defendant evaluated Person A’s demand and made the calculated
 6   decision to coerce Kiesel to pay it to stop Person A from revealing information that
 7   would damage the City and, in turn, threaten defendant’s career and reputation. In so
 8   doing and in admitting these facts, defendant conceded that the value of the extortionate
 9   demand matched the seriousness of the offense.
10          Based on the actual facts and circumstances of defendant’s (repeated) conduct of
11   threats, his intended loss to Kiesel, and the actual payout to Person A, the full 14-level
12   enhancement correctly and appropriately applies.
13   III.   THE 2-LEVEL ABUSE OF POSITION OF TRUST ENHANCEMENT
            APPLIES
14
            As set forth in the government’s sentencing position, the USPO correctly applied
15
     the two-level enhancement pursuant to U.S.S.G. § 3B1.3 for abuse of a position of trust
16
     because defendant abused his position as the Chief of the Civil Litigation Branch to
17
     significantly facilitate the commission of his crime of aiding and abetting Person A’s
18
     extortion and inducing Kiesel to pay the demand. (See Dkt. No. 46 at 10.)
19
            Defendant again misses the mark when he argues that this enhancement should not
20
     apply because Person A acted “completely independent” of defendant and that her
21
     extortion was “well underway” by the time defendant was informed of it. (Dkt. No. 45
22
     at 13.) Again, the question is whether defendant abused his position of trust to
23
     significantly facilitate the commission of his crime. His crime was to make the specific
24
     extortionate threats against Kiesel, wielding his high-ranking position at the City
25
     Attorney’s Office that he would advocate to have Kiesel fired as Special Counsel if
26
     Kiesel did not pay Person A’s demand. And there is no question that, by defendant’s
27
     threats in his capacity as the City’s head of Civil Litigation, defendant “require[d] Kiesel
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                                                  4
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 1   to satisfy Person A’s monetary demands” and “induced Kiesel to part with property by
 2   wrongful threat of economic or reputational harm[.]” (Factual Basis ¶ 29.) That was an
 3   abuse of defendant’s position of trust.
 4   IV.   A DEPARTURE OR VARIANCE FOR ABERRANT BEHAVIOR DOES
           NOT APPLY
 5
           Next, defendant seeks a departure or variance under U.S.S.G. § 5K2.20 for
 6
     aberrant behavior. (Dkt. No. 45 at 13-14.)
 7
           U.S.S.G. § 5K2.20 contains a policy statement that courts may depart downward
 8
     only if the defendant committed a “single criminal occurrence or single criminal
 9
     transaction that was committed without significant planning” and “was of limited
10
     duration.” U.S.S.G. § 5K2.20(b). The commentary notes that “repetitious or significant,
11
     planned behavior” does not meet the requirements for a departure for aberrant behavior.
12
     U.S.S.G. § 5K2.20(b), comment (n.2).
13
           Here, defendant’s criminal conduct was neither a single occurrence without
14
     significant planning nor of limited duration. To the contrary, defendant was the
15
     persistent, threatening drumbeat of potential termination on November 17, November 29,
16
     and December 4, 2017 that ultimately induced Kiesel to pay the extortionate demand.
17
     (Factual Basis ¶¶ 18, 19, 24-28.) Defendant’s threats were not made in the spur of the
18
     moment or as a one-off slip of the tongue; rather, they were made as a calculated
19
     decision through a series of discussions and meetings, including with senior members of
20
     the City Attorney’s Office. And that was because long before Person A even made her
21
     monetary demand, defendant had already committed to the plan and strategy to actively
22
     conceal the City’s collusion in Jones v. City—a plan he continued even after he had left
23
     the City. Such facts do not support a departure or variance for aberrant behavior.
24
     V.    THE GOVERNMENT HAS ALREADY CREDITED DEFENDANT’S
25         ACCEPTANCE OF RESPONSIBILITY
26         Defendant also seeks a downward variance based on his extraordinary acceptance
27   of responsibility. (Dkt. No. 45 at 15.)
28
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 1         Although the government agrees that defendant has shown a fulsome acceptance
 2   of responsibility and is entitled to the 3-level departure under U.S.S.G. § 3E1.1, a further
 3   variance on that basis is not warranted. Indeed, the government has already credited
 4   defendant’s fulsome acceptance of responsibility, without which he would not have been
 5   eligible for a cooperation plea agreement. Through that plea agreement, defendant had
 6   the opportunity to cooperate fully with both the federal government and any other
 7   prosecuting authorities as directed. (Dkt. No. 7 ¶¶ 3, 6.) And as set forth in its
 8   sentencing position, the government made those cooperation opportunities available to
 9   defendant and now seeks a 7-level departure and variance based on defendant’s
10   cooperation and acceptance of responsibility. No further variance is necessary to
11   account for defendant’s acceptance of responsibility.
12   VI.   NO TWO-TIERED SYSTEM OF JUSTICE
13         Finally, the defense seeks a downward variance based on defendant’s history and
14   characteristics. In support of its position, the defense supplied numerous letters of
15   support detailing (among other things) defendant’s many professional accomplishments,
16   including from friends and former colleagues with impressive backgrounds of their own.
17   Many of the letters speak to defendant’s passion for the law and his legal career, which
18   he will no longer be able to practice. One such letter characterizes the loss of
19   defendant’s law license as “the most severe blow he could suffer.” (Dkt. No. 45, Ex. B
20   at 52.) While there may be other reasons for mitigation, defendant’s former status,
21   connections, resources, and privileges should not be among them.
22         As Musgrave, Treadwell, Stefonek, Prosperi, Bistline, Chapter 5, Part H of the
23   Guidelines, and the other authorities laid out in the government’s sentencing position
24   explain (Dkt. No. 46 at 15-16, 18-19), the law requires that the various § 3553(a) factors
25   not be weighed to unjustly favor certain classes of defendants and disfavor others.
26   Importantly, a defendant’s privileged background, which defendant seemingly admits he
27   had, and its attendant educational, employment, and socioeconomic advantages are
28   simply not relevant to the determination of a sentence. (See id.) Along those same lines,
                                                  6
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 1   defendant’s loss of his law license is, in many ways, a reflection of that privileged
 2   background and a consequence of his own criminal and unethical actions—and not a
 3   consequence of his sentence, which should “reflect the seriousness of the offense.”
 4   United States v. Bistline, 665 F.3d 758, 765 (6th Cir. 2012) (disapproving of district
 5   court’s “recitation of [defendant’s] collateral consequences” which did nothing to show
 6   that the sentence “reflects the seriousness of his offense”; “Were it otherwise, these sorts
 7   of consequences—particularly ones related to a defendant’s humiliation before his
 8   community, neighbors, and friends—would tend to support shorter sentences in cases
 9   with defendants from privileged backgrounds, who might have more to lose along these
10   lines. And ‘[w]e do not believe criminals with privileged backgrounds are more entitled
11   to leniency than those who have nothing left to lose.’” (citation omitted)); cf. Koon v.
12   United States, 518 U.S. 81, 110 (1996) (concluding that the district court abused its
13   discretion by considering petitioners’ career loss because “it is not unusual for a public
14   official who is convicted of using his governmental authority to violate a person’s rights
15   to lose his or her job and to be barred from future work in that field”). 5
16         For these same reasons, the Court should consider the defense’s offered letters in
17   their proper context and refrain from giving them or their authors undue weight. See
18   United States v. Morgan, 635 F. App’x 423, 449-50 (10th Cir. 2015) (explaining that the
19   trial court placed “undue emphasis on the numerous letters” in which many of the
20   authors “believed [defendant] had been adequately punished by the collateral
21   consequences of his prosecution and conviction”; noting the court’s lack of surprise at
22   the number of letters offered, given that “[o]ne does not become [a high-ranking public
23   official] without the confidence of many supporters, some quite influential. The letters
24   must be viewed in that light.” (citations omitted)). It should also be considered that the
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26         5
             United States v. Whitmore, 35 F. App’x 307 (9th Cir. 2002), an unpublished
27   Ninth Circuit case that the defense cites, is distinguishable because the defendant had
     already suffered employment consequences as a result of the “slow development” of the
28
     six-year-long prosecution against him. Id. at 322; (see also Dkt. No. 45 at 16)
                                                   7
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 1   same passion and ambition that defendant had for his legal career is what drove him to
 2   put that career and himself over the public trust and to make the decision to aid and abet
 3   an almost-million-dollar extortion.
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